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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE MIDDLE DISTRICT OF GEORGIA
                                        COLUMBUS DIVISION
                                      AT COLUMBUS, GEORGIA

    MINUTE SHEET OF SENTENCING HEARING (UNCONTESTED/NON-EVIDENTIARY)

Date: August 14, 2015                                        Time in Court: 7 minutes

Judge: CLAY D. LAND                                          Court Reporter: Betsy Peterson

Courtroom Deputy: Elizabeth S. Long                          Interpreter: N/A

                                      Case Number: 4:15-CR-15-001 (CDL)
U.S.A.                                                  AUSA:                    Crawford Seals

         v.

 DARNELL FEAGINS                                             Counsel:            Tim Saviello

Agent in attendance: Wendy Howard and Alan Alexander, USPO
DISCLAIMER: CONTENTS OF THIS MINUTE SHEET ARE FOR ADMINISTRATIVE PURPOSES ONLY AND ARE NOT
MEANT AS A SUBSTITUTION FOR THE     OFFICIAL COURT RECORD. ATTORNEYS SHOULD CONTACT THE COURT
REPORTER AND ORDER A TRANSCRIPT IF THERE ARE ANY QUESTIONS AS TO THE CONTENTS HEREIN.

OFFENSE LEVEL: 12                             CATEGORY: V                  RANGE: 27 - 33 MONTHS
IMPRISONMENT: 27 MONTHS to be served consecutively to any parole           SUPERVISED RELEASE: 5 YEARS
revocation sentence imposed in Kings County, New York Supreme Court Case
Number 07838-2011

                            CONDITIONS OF RELEASE / MONETARY PENALTIES

☒        Dft shall not possess firearms or other dangerous weapons.
☒        Dft to cooperate in the collection of DNA as directed by the USPO.
☒        A mandatory assessment fee of $ 100.00 is to be paid immediately.
☒        Fine is waived. It is the Court’s judgment that the defendant is unable and not likely to become
         able to pay all or part of a fine even with the use of a reasonable installment schedule. Therefore,
         the Court waives the fine as well as any alternative sanctions in this case.
☒        Dft shall register with the state Sex Offender Registration Agency.
☒        Completion of GED.


VOLUNTARY SURRENDER: ☐ Yes ☒ No                          APPEAL INFORMATION GIVEN TO: ☒ Atty         ☒ Dft
